       Case 20-32367-sgj7 Doc 2 Filed 09/18/20            Entered 09/18/20 07:42:34       Page 1 of 2




The following constitutes the ruling of the court and has the force and effect therein described.




Signed September 17, 2020
______________________________________________________________________



                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION



     IN RE:                                           §
                                                      §
     Examination Management Services, Inc             §           CASE NO. 20-32367-SGJ-7
                                                      §
            Debtor.                                   §


        ORDER TO SHOW CAUSE WHETHER CASE SHOULD BE DISMISSED FOR
       FAILURE OF CORPORATE PETITONING CREDITORS TO APPEAR IN CASE
                            THROUGH COUNSEL

            The above-referenced involuntary case was filed against the above-referenced

     corporation on September 14, 2020. The Petitioning Creditors are all corporations or other forms

     of business entities and no licensed attorney has appeared for them. It is well established that a

     corporate entity may not appear in federal court actions (including bankruptcy cases) pro se

     under 28 U.S.C. §1654, Rowland v. California Men's Colony, 506 U.S. 194, 201-03 (1993)

     (citing cases dating from 1824 forward holding that a corporation may only be represented by

     licensed counsel), and Local Bankruptcy Rule 1002-2(a). Therefore, it is

                                                          1
 Case 20-32367-sgj7 Doc 2 Filed 09/18/20            Entered 09/18/20 07:42:34        Page 2 of 2




       ORDERED that the Petitioning Creditors, JTD Services Inc, Lynn Blank Exam Services,

Bistate Professional Services Inc, and Five Eight Eight Two, Inc, shall retain counsel and such

counsel must file a Notice of Appearance in this case on or before September 28, 2020, at 2:30

p.m., or this involuntary case will be dismissed for their failure to appear and prosecute this case

through counsel.

                                    ### END OF ORDER ###




                                                     2
